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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                 Case No. 21-cv-04184-JSW
                                                         Plaintiff,                         ORDER RE SUFFICIENCY OF
                                   8
                                                                                            AMENDED COMPLAINT AND
                                                  v.                                        DEFERRING RULING ON EX PARTE
                                   9
                                                                                            APPLICATION FOR TEMPORARY
                                  10     KARL POLANO, et al.,                               RESTRAINING ORDER
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court is an ex parte application for a temporary restraining order (“TRO”)

                                  14   filed by Plaintiff David Stebbins (“Plaintiff”) against a single named defendant, Discord, Inc.,

                                  15   requiring Discord, Inc., to prohibit certain of its members from managing channels or messages.

                                  16   In making a determination regarding Plaintiff’s application, the Court has reviewed the procedural

                                  17   posture of this case.

                                  18          The original complaint was filed on June 2, 2021, and the matter was randomly assigned to

                                  19   Magistrate Judge Corley. On June 30, 2021, Judge Corley issued a screening order pursuant to 28

                                  20   U.S.C. section 1915. (Dkt. No. 10.) In that Order, Judge Corley found that Plaintiff sufficiently

                                  21   stated a claim for copyright infringement but found that Plaintiff’s claims for misrepresentation

                                  22   under 17 U.S.C. section 512(f) (“Section 512(f)”) and intentional infliction of emotional distress

                                  23   (“IIED”) failed to comply with Federal Rule of Civil Procedure 8. She permitted Plaintiff leave to

                                  24   amend to cure the defects identified by no later than July 30, 2021. On July 29, 2021, Plaintiff

                                  25   filed an amended complaint. (Dkt. No. 11.) That same day, he filed an ex parte application for a

                                  26   TRO, and the case was subsequently reassigned to the undersigned. (Dkt. No. 20.) Before the

                                  27   Court may address the TRO, it must first address the sufficiency of the amended complaint’s

                                  28   allegations under 28 U.S.C. section 1915.
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                                   1                                             BACKGROUND

                                   2          Plaintiff posts content to his YouTube and Twitch channels using the alias Acerthorn.

                                   3   (Am. Compl. ¶ 1.) Plaintiff alleges that on April 10, 2021, his livestream software turned on

                                   4   causing him to inadvertently broadcast two hours of his daily activities for his viewers to see. (Id.

                                   5   ¶ 22.) Plaintiff alleges that at one point in the video, strange noises can be heard. (Id. ¶ 23.) The

                                   6   noises constitute the most interesting and memorable part of the livestream. (Id.) Plaintiff alleges

                                   7   that he registered his accidental livestream with the U.S. Copyright Office and uploaded a video of

                                   8   the livestream to his YouTube channel, limiting access to those who pay him twenty dollars per

                                   9   month. (Id. ¶ 24.)

                                  10          Plaintiff alleges that shortly after his inadvertent livestream, a user with the alias

                                  11   InitiativeKookie uploaded a clip from the accidental livestream to YouTube and Vimeo on

                                  12   multiple occasions despite receiving takedown notices from Plaintiff. (Id. ¶¶ 26-32.) Plaintiff
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                                  13   alleges that on April 25, 2021, he learned that Defendant Polano was also sharing Plaintiff’s

                                  14   copyrighted livestreams on Polano’s Discord server. (Id. ¶ 38.) Plaintiff alleges that Polano’s

                                  15   Discord server is moderated by a user with the alias TGP482. (Id. ¶ 40.) Plaintiff alleges that

                                  16   Polano and TGP482 refused to remove the infringing content. As a result of these instances of

                                  17   infringement, Plaintiff alleges that he has issued numerous takedown notices.

                                  18          Plaintiff alleges that on May 20, 2021, Defendant Polano posted a video to his YouTube

                                  19   channel that consisted of a clip of Plaintiff’s accidental livestream combined with some additional

                                  20   video clips. (Id. ¶ 45.) Plaintiff filed a takedown notice with YouTube, and the video was

                                  21   removed. (Id. ¶ 46.) Plaintiff alleges that Polano filed a counter-notification stating that the video

                                  22   was a parody and fair use. (Id. ¶ 47.) Plaintiff alleges that TGP482 and Polano uploaded a clip of

                                  23   his accidental livestream to Instagram on June 9, 2021. (Id. ¶ 57.) Although Plaintiff filed a

                                  24   takedown notice, Facebook did not remove the material. (Id. ¶ 58.) Plaintiff alleges that the video

                                  25   could have only been obtained by illegally downloading it. (Id. ¶ 81.)

                                  26          Plaintiff brings claims for copyright infringement, violations of 17 U.S.C. section 512(f)(2)

                                  27   against Polano; violation of 17 U.S.C. section 512(f)(1) against TGP482; and IIED.

                                  28          The Court will address additional facts as necessary in the analysis.
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                                   1                                                ANALYSIS

                                   2   A.      Copyright Infringement Claims.
                                   3           To state a claim for copyright infringement, a plaintiff must allege facts plausibly showing

                                   4   (1) that he owns a valid copyright in the work, and (2) “copying” and “unlawful appropriation.”

                                   5   Skidmore for Randy Craig Wolfe Trust v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (en

                                   6   banc). For “copying,” the alleged facts must plausibly show, directly, that the defendant copied

                                   7   or, circumstantially, that the defendant had access to the plaintiff’s work and the works are

                                   8   strikingly similar. Id. For “unlawful appropriation,” the alleged facts must plausibly show that

                                   9   specific elements of the works are objectively similar and that an ordinary observer would view

                                  10   the overall works as similar. Id. Here, as Judge Corley previously noted, Plaintiff’s allegations

                                  11   plausibly allege a claim of copyright infringement.

                                  12   B.      Misrepresentation Under 17 U.S.C. Section 512(f).
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                                  13           1.     Section 512(f)(1) Claim.
                                  14           Plaintiff has added a claim for a violation of Section 512(f)(1) alleging that a user with the

                                  15   alias TGP482 issued a fraudulent takedown notice against a video Plaintiff posted on YouTube

                                  16   because Plaintiff used an image of TGP482’s Discord user icon in the video. (Am. Compl. ¶ 54.).

                                  17   Under section 512(f), a copyright owner may be liable for damages if it does not make a good-

                                  18   faith assertion in its takedown notice that the subject material infringes on its copyright. A

                                  19   copyright owner “who knowingly materially misrepresents ... that the material or activity is

                                  20   infringing ... shall be liable for damages incurred by the alleged infringer[.]” 17 U.S.C. § 512(f);

                                  21   see also Online Policy Group v. Diebold, Inc., 337 F.Supp.2d 1195, 1204 (N.D. Cal. 2004) (“A

                                  22   party is liable if it ‘knowingly’ and ‘materially’ misrepresents that copyright infringement has

                                  23   occurred.”).

                                  24           Here, Plaintiff alleges that the TGP482 knowingly misrepresented that infringement

                                  25   occurred because he does not own the copyright to the picture. Plaintiff also alleges that he

                                  26   received notice that members of a certain Discord server, which he alleges includes TGP482,

                                  27   intended to make “false copyright strikes in retaliation” for Plaintiff’s takedown notice against

                                  28   Polano. (See Am. Compl. ¶ 46.) Plaintiff also alleges that TGP482 failed to consider fair use
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                                   1   prior to issuing the takedown notice. Finally, Plaintiff alleges that he suffered injury in the form

                                   2   of lost views and lost ad revenue. While sparse, the Court finds these allegations sufficient at the

                                   3   pleading stage. Lenz, 572 F. Supp. 2d at 1156-57. Although the Court is skeptical that Plaintiff

                                   4   will be able to prove that TGP482 acted with subjective bad faith, at this stage, it finds the

                                   5   allegations sufficient to survive Section 1915 review.

                                   6          2.      Section 512(f)(2) Claim.
                                   7          To state a claim for misrepresentation under Section 512(f)(2), a plaintiff must allege facts

                                   8   plausibly showing (1) that the defendant knowingly and materially misrepresented that its material

                                   9   was removed or disabled by mistake or misidentification; (2) the internet service provider relied

                                  10   on the misrepresentation in replacing the removed material or ceasing to disable access to it; and

                                  11   (3) the plaintiff was injured as a result. See Automattic Inc. v. Steiner, 82 F. Supp. 3d 1011, 1026

                                  12   (N.D. Cal. 2015). The first element is not met if the defendant had a subjective good faith belief
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                                  13   that it was not making a misrepresentation—in this situation, if the defendant had a subjective

                                  14   good faith belief that its material was fair use and therefore removing it was a misidentification.

                                  15   Lenz v. Universal Music Corp., 572 F. Supp. 2d 1150, 1153-54 (N.D. Cal. 2008). Judge Corley

                                  16   found that Plaintiff failed to adequately plead the first element because the facts as alleged do not

                                  17   plausibly suggest that any misrepresentation in Defendant Polano’s counter-notice was knowing.

                                  18          Plaintiff has failed to cure this defect in the amended complaint. Plaintiff still does not

                                  19   plausibly allege that Polano knowingly misrepresented in the counter-notice that his video was fair

                                  20   use and intended for parody. Indeed, Plaintiff alleges that Polano’s video used only a portion of

                                  21   his original livestream and added certain new elements to the video. Plaintiff also alleges that

                                  22   Polano sent him a message in which he implies that his use of Plaintiff’s video was fair use. (See

                                  23   Am. Compl. ¶ 38(e)). Plaintiff asserts that Polano’s video is not a parody and has not been

                                  24   sufficiently transformed; however, the relevant question for Plaintiff’s claim of misrepresentation

                                  25   is whether Plaintiff has adequately alleged that Polano lacked a good faith subjective belief that

                                  26   his use of Plaintiff’s video was fair use. He has failed to do so, and in fact, his allegations give

                                  27   rise to the opposite inference. Accordingly, the allegations of the amended complaint give rise to

                                  28   the inference that Polano had a subjective good faith belief that his use of the video was fair use.
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                                   1   Based on Plaintiff’s allegations, it is implausible to infer that Polano knowingly misrepresented

                                   2   that his use of the video was fair use. Plaintiff’s allegations are insufficient to state a claim for

                                   3   relief under Section 512(f)(2). Moreover, the Court finds further leave to amend here would be

                                   4   futile given the allegations in the complaint establishing Polano’s subjective good faith belief.

                                   5   Accordingly, this claim is dismissed WITH PREJUDICE.

                                   6   C.      Intentional Infliction of Emotional Distress.
                                   7           To state claim for IIED a plaintiff must show: (1) extreme and outrageous conduct by the

                                   8   defendant with the intention to cause, or reckless disregard of the probability of causing, emotional

                                   9   distress; (2) suffering of severe or extreme emotional distress; and (3) actual and proximate

                                  10   causation of the emotional distress. Hughes v. Pair, 46 Cal. 4th 1035, 1050 (2009). Courts have

                                  11   emphasized that extreme and outrageous conduct is conduct that “go[es] beyond all possible

                                  12   [bounds] of decency, and [is] regarded as atrocious, and utterly intolerable in a civilized
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                                  13   community.” Mintz v. Blue Cross of Cal., 172 Cal. App. 4th 1594, 1608 (2009) (quotation

                                  14   omitted). “With respect to the requirement that the plaintiff show severe emotional distress [for an

                                  15   IIED claim],” the California Supreme Court “has set a high bar.” Hughes, 46 Cal. 4th at 1051.

                                  16   “Severe emotional distress means emotional distress of such substantial quality or enduring

                                  17   quality that no reasonable [person] in civilized society should be expected to endure it.” Id.

                                  18   (citation and internal quotation marks omitted).

                                  19           Plaintiff’s allegations are insufficient to state a claim for IIED. As in the original

                                  20   complaint, the amended complaint again fails to allege facts that show the conduct was extreme

                                  21   and outrageous. Although Plaintiff alleges that he has been on the receiving end of insults and

                                  22   sabotage attempts on certain of his internet accounts, liability for intentional infliction of

                                  23   emotional distress “does not extend to mere insults indignities, threats, annoyances, petty

                                  24   oppressions, or other trivialities.” Id. Plaintiff also fails to adequately allege that he suffered

                                  25   severe or extreme emotional distress. Plaintiff alleges that he has become reluctant to take certain

                                  26   actions on his Discord server and Reddit account and has been reluctant to collaborate with other

                                  27   streamers, which he alleges are symptoms of paranoia and anxiety. (Am. Compl. ¶¶ 74-75.)

                                  28   These allegations are insufficient to meet the “high bar” required to show severe emotional
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                                   1   distress. Hughes, 46 Cal. 4th at 1051. Accordingly, Plaintiff’s claim for IIED is DISMISSED.

                                   2   The Court finds that further leave to amend would be futile here. Plaintiff’s amendments in the

                                   3   amended complaint provide variations on the allegations in the original complaint but are still far

                                   4   from establishing a plausible claim for IIED. Accordingly, the Court dismisses this claim WITH

                                   5   PREJUDICE.

                                   6                                              CONCLUSION

                                   7          Having reviewed the allegations of the amended complaint pursuant to Section 1915, the

                                   8   Court finds that Plaintiff’s 17 U.S.C. section 512(f)(2) and IIED claims fail to comply with Rule 8,

                                   9   and the Court dismisses those claims with prejudice. See 28 U.S.C. § 1915(e)(2). However,

                                  10   Plaintiff has adequately alleged copyright infringement and a claim for misrepresentation under

                                  11   Section 512(f)(1) and may proceed on those claims.

                                  12          Accordingly, it is ORDERED that the Clerk issue summons, and it is FURTHER
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                                  13   ORDERED that the U.S. Marshal for the Northern District of California serve upon the named

                                  14   defendants, without prepayment of fees, a copy of both the original and amended complaints,

                                  15   attachments, this Order, and Plaintiff’s motion for a TRO.

                                  16          The Court DEFERS taking action on Plaintiff’s application for a TRO until it receives

                                  17   acknowledgement of service from the U.S. Marshal as to Defendant Discord, Inc., at which point

                                  18   it will set an expedited briefing schedule on Plaintiff’s application.

                                  19          IT IS SO ORDERED.

                                  20   Dated: August 3, 2021

                                  21                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  22                                                     United States District Judge
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